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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

  LEAGUE OF WOMEN VOTERS                    )
  OF MICHIGAN, et al.,                      )
                                            )
          Plaintiffs,                       )
                                            )
  v.                                        )                   No. 2:17-cv-14148
                                            )
  JOCELYN BENSON, in her official           )
  capacity as Michigan Secretary of         )
  State, et al.,                            )
                                            )
          Defendants.                       )
  __________________________________________)

      ORDER GRANTING PLAINTIFFS’ AMENDED UNOPPOSED MOTION FOR
     ENLARGEMENT OF TIME AND ESTABLISHMENT OF BRIEFING SCHEDULE
    REGARDING AWARD OF ATTORNEYS’ FEES AND EXPENSES UNDER 42 U.S.C.
                          § 1988 (ECF NO. 279).

         Plaintiffs move the Court for an enlargement of time to file their request for attorneys’

  fees and expenses, and for the establishment of a briefing schedule regarding their fee request.

  Secretary Benson and Intervenors do not object to Plaintiffs’ requested relief. We believe that

  Plaintiffs’ request to extend the deadline for filing a motion for attorneys’ fees is well taken

  given that the parties are actively engaged in the appellate process.

         WHEREFORE, the Court HEREBY ORDERS that:

         Motions requesting the entry of orders or bills of costs pertaining to requests for payment

  of attorneys’ fees and/or costs may be filed after entry of judgment following completion of

  appeals of this Court’s judgment that was entered on April 25, 2019. Although this order extends

  the time that Plaintiffs have available to request payment of attorneys’ fees and costs, the time

  for filing motions and briefs, and responses thereto by Defendant Benson and the intervening



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  parties, following entry of judgment, in connection with appellate proceedings, shall remain as

  specified by the applicable federal rules of procedure.

         IT IS SO ORDERED.

  Dated: May 21, 2019

                                        /s/ Eric L. Clay
                                        Signed for and on behalf of the panel:

                                        HONORABLE ERIC L. CLAY
                                        United States Circuit Judge

                                        HONORABLE DENISE PAGE HOOD
                                        United States District Judge

                                        HONORABLE GORDON J. QUIST
                                        United States District Judge




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